       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 1 of 44                                FILED
                                                                                              2024 May-08 AM 11:39
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION

 State of ALABAMA, et al.,
                                       Plaintiffs,
 v.                                                      Case No. 7:24-cv-533-GMB

 Miguel CARDONA, in his official capacity
 as the U.S. Secretary of Education, et al.,
                                   Defendants.

                        DECLARATION OF CHERISE TRUMP
                               (SPEECH FIRST)
       1.      I am over the age of eighteen and under no mental disability or impairment. I

have personal knowledge of the following facts and, if called as a witness, would competently

testify to them.

       2.      I am the executive director of Speech First, Inc.

       3.      Speech First is a 501(c)(3) nationwide membership organization of students,

alumni, and others that is dedicated to preserving civil rights. Speech First seeks to protect the

rights of students and others at colleges and universities through litigation, reporting, research,

petitioning, and other lawful means.

       4.      One way that Speech First uses litigation is to challenge speech codes at colleges

and universities. A speech code is “any university regulation or policy that prohibits expression

that would be protected by the First Amendment in society at large.” What Are Speech Codes?

FIRE, perma.cc/JE2M-SHH2 (archived Apr. 19, 2024). “Any policy … can be a speech code

if it prohibits protected speech or expression.” Id. Speech First has used litigation to challenge

speech codes across the country—including, for example, bias policies, e.g., Speech First, Inc. v.

Cartwright, 32 F.4th 1110, 1122-24 (11th Cir. 2022); Speech First, Inc. v. Schlissel, 939 F.3d 756,


                                                     1
        Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 2 of 44




763-67 (6th Cir. 2019); computer policies, e.g., Speech First, Inc. v. Cartwright, 2021 WL 3399829,

at *7 (M.D. Fla. July 29); Speech First, Inc. v. Sands, 2021 WL 4315459, at *1 (W.D. Va. Sept. 22);

Speech First, Inc. v. McCall, No. 1:23-cv-411, ECF 33 at 19-28 (W.D. Tex. Sept. 1, 2023); and

residence-hall policies, e.g., Speech First, Inc. v. Fenves, 979 F.3d 319, 324-27 (5th Cir. 2020). But

litigation is expensive and time-consuming; Speech First’s expenses always dwarf the small

amount of attorney’s fees it recovers, if it recovers them at all.

       5.      Speech First has spent substantial time and resources defending the Trump

administration’s Title IX rule—the same 2020 rule that the Biden administration is now

repealing. Speech First intervened in Pennsylvania v. Devos to defend the 2020 rule, see Minute

Order, No. 1:20-cv-01468 (D.D.C. July 6, 2020), and that court upheld the 2020 rule as lawful,

480 F. Supp. 3d 47 (D.D.C. 2020). Speech First also helped defeat proposals to delay the 2020

rule’s effective date. Letter to Secretary DeVos and Assistant Secretary Marcus, IWLC & Speech First

(Apr. 9, 2020), perma.cc/4ME3-43CS. And Speech First filed comments in response to the

Department’s notice of proposed rulemaking to repeal the 2020 rule here. Comment to Docket

ID No. ED-2021-OCR-0166, Speech First (Sept. 9, 2022), perma.cc/JV45-ZCPC. Speech

First’s specific concerns—and its litigation—are referenced in the final rule numerous times.

E.g., 89 Fed. Reg. at 33,501-02, 33,505.

       6.      The challenged rule changes the operative definition of “sexual harassment”

under Title IX for so-called hostile-environment harassment. Under the 2020 rule, that

harassment was defined as:

               Unwelcome conduct determined by a reasonable person to be so severe,
       pervasive, and objectively offensive that it effectively denies a person equal access to
       the recipient’s education program or activity.



                                                  2
        Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 3 of 44




34 C.F.R. §106.30(a)(2). Under the challenged rule, that harassment is now defined as:

       Unwelcome sex-based conduct that, based on the totality of the circumstances, is
       subjectively and objectively offensive and is so severe or pervasive that it limits or
       denies a person’s ability to participate in or benefit from the recipient’s education
       program or activity (i.e., creates a hostile environment). Whether a hostile environment
       has been created is a fact-specific inquiry that includes consideration of the following:

               (i) The degree to which the conduct affected the complainant’s ability to access
               the recipient’s education program or activity;

               (ii) The type, frequency, and duration of the conduct;

               (iii) The parties’ ages, roles within the recipient’s education program or activity,
               previous interactions, and other factors about each party that may be relevant
               to evaluating the effects of the conduct;

               (iv) The location of the conduct and the context in which the conduct occurred;
               and

               (v) Other sex-based harassment in the recipient’s education program or activity.

       7.      Universities must—and predictably will—change their Title IX policies to ban

harassment that satisfies this new definition. Universities understand that, if they deviate from

the Department’s definitions, they can be investigated and punished by the Department,

risking their reputation and their federal funding. The Department has, in fact, used its

enforcement authority to force universities to adopt policies that contain its preferred

definition of harassment. E.g., University of Montana, DOJ Case No. DJ 169-44-9, OCR Case

No. 10126001 (May 9, 2013), perma.cc/EYT7-8VFK. And after the Trump administration

issued the 2020 rule, virtually every university adopted that rule’s definition of harassment

verbatim in their Title IX policies, even though many universities disagreed with that definition

as a matter of law and policy. See Spotlight on New Title IX Regulations, in Spotlight on Speech Codes

2021, FIRE, perma.cc/K8VR-3LDL.



                                                  3
       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 4 of 44




       8.      Speech First and other groups who defend students’ rights believe that the rule’s

new definition of harassment is facially unconstitutional under the First and Fourteenth

Amendments. See Br. of Speech First in Cartwright, 2021 WL 4146131, at *5-6, 23-25; Amicus

Br. of FIRE in Cartwright, 2021 WL 4726904, at *3-23. The Supreme Court defined actionable

harassment for purposes of Title IX in Davis v. Monroe County Board of Education. Answering

First Amendment objections raised by the dissent, the majority opinion adopted a stringent

definition that honors the line between harassment that is conduct (which public schools can

punish without implicating the First Amendment) and harassment that is speech (which the

First Amendment generally protects). Under Davis, the harassment must be “so severe,

pervasive, and objectively offensive that it denies its victims the equal access to education.”

526 U.S. 629, 652 (1999). By using the conjunction “and,” this standard excludes “a single

instance of one-on-one peer harassment,” even if “sufficiently severe”; and by using the word

“denies,” this standard rules out harassment that has only limited effects like a “‘decline in

grades.’” Id. at 652-53. Public policies that exceed Davis’s narrow, speech-protective definition

of harassment raise grave constitutional problems, since they sweep in a substantial amount

of protected speech. Whenever public universities adopt this definition, it chills speech on and

off their campus.

       9.      When universities adopt unconstitutional harassment policies that chill the

speech of Speech First’s members, Speech First challenges those policies in court. E.g., Fenves,

979 F.3d 319 (University of Texas); Cartwright, 32 F.4th 1110 (University of Central Florida);

Khator, 603 F. Supp. 3d 480 (University of Houston); Speech First, Inc. v. Shrum, 92 F.4th 947

(10th Cir. 2024) (Oklahoma State University); Speech First, Inc. v. McCall, No. 23-50633 (5th Cir.



                                                4
       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 5 of 44




Sept. 6, 2023) (Texas State University). Speech First has won that harassment policies

exceeding Davis—including policies virtually identical to the one that the rule will make

universities adopt—are unenforceable. In Cartwright, for example, the Eleventh Circuit

awarded Speech First a preliminary injunction against a non-Davis-compliant policy, finding

that the policy likely violated the First Amendment. 32 F.4th at 1120-22, 1125-29. Another

court did the same in Khator, 603 F. Supp. 3d at 481-82. And in Fenves, Speech First won that

it had standing to challenge another non-Davis-compliant policy because that policy likely

chilled students’ speech. 979 F.3d at 329-39.

       10.    In most of these cases, the universities signed settlement agreements with

Speech First that brought the school’s harassment policy in line with Davis:

       a. The University of Central Florida agreed to “promptly amend” its harassment
          policy to comply with Davis and to “not reinstate the version of the policy that
          Speech First challenged.” Doc. 64, No. 6:21-cv-00313 (M.D. Fla. Sept. 23, 2022)
          (attached as Ex. A).
       b. The University of Houston agreed to “not reinstate the version of the [Harassment]
          Policy challenged by Speech First.” Doc. 31, No. 4:22-cv-00582 (S.D. Tex. June 10,
          2022) (attached as Ex. B). It agreed to adopt a harassment policy that, with respect
          to nonemployee students, complies with Davis. Ex. B at 11.
       c. The University of Texas agreed to adopt a harassment policy that tracks Davis and
          to not reinstate its harassment policy that exceeded Davis. Doc. 39, No. 1:18-cv-
          01078 (W.D. Tex. Dec. 12, 2020) (attached as Ex. C).
       d. Oklahoma State University also agreed to adopt a harassment policy that tracks
          Davis and to not reinstate its harassment policy that exceeded Davis. Docs. 55-56,
          No. 5:23-cv-29 (W.D. Okla. Apr. 15, 2024) (attached as Ex. D). Unlike the other
          universities, however, Oklahoma State required Speech First to agree that it would
          “not challenge” that university’s Title IX policy if that policy adopts the definition
          of sexual harassment that the Department has now promulgated. Ex. D ¶6.
       11.    The challenged rule will, in critical respects, nullify these settlement agreements

and deprive Speech First of the benefit of these bargains. The challenged rule instructs these



                                                5
       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 6 of 44




universities to change their Davis-compliant policies to non-Davis-compliant policies,

recreating the very regime that Speech First contracted with these universities to eliminate for

sex, sexual orientation, and gender identity.

       12.     The challenged rule also will divert Speech First’s resources in ways that harm

its mission. Under the 2020 rule, several schools had constitutional harassment policies overall

(because they followed Davis already or lost lawsuits to Speech First); and all schools had

constitutional harassment policies under Title IX (because they adopted the 2020 rule’s Davis-

compliant definition). But thanks to the rule, all public universities will have Title IX policies

that deviate from Davis, ballooning the number of universities that are violating the First

Amendment rights of Speech First’s members. This will require Speech First to divert its finite

resources toward suing (or re-suing) universities who adopt the rule’s definition. Those

resources would otherwise be spent launching a new initiative that focuses on shaping

legislative policy to better defend students’ free-speech rights on campuses. This new initiative

would include drafting model policies, reaching out to and working with local organizations

on state-level policy recommendations, participating in local and regional conferences to

promote Speech First’s work, and reaching out to and meeting with lawmakers and educating

them on Speech First’s research findings.

       13.     The challenged rule will also cause universities to violate the constitutional

rights of Speech First’s members. Speech First has many members who are current students

at public universities within the United States. I am personally familiar with, and have spoken

to, several of these members and have personal knowledge of their views, beliefs, and fears.

Speech First’s members hold a wide array of different views and opinions on politics, religion,



                                                6
       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 7 of 44




gender identity, abortion, and many other sensitive and controversial topics concerning sex,

sexual orientation, and gender identity. Many of those students attend schools where Speech

First has reached a favorable settlement that, until the challenged rule, protected their rights.

       14.     A student from Speech First’s case against Oklahoma State, for example, is a

rising senior. As she explained in that case, she believes that sex is immutable and that there is

no such thing as a “gender spectrum.” She thinks the exponential growth in adolescents and

young adults who identify as transgender or “non-binary” is evidence that many people now

claim a certain “gender identity” because they want attention or affirmation. She believes

abortion is wrong and that women should not be allowed to kill innocent babies. Laws that

allow a mother and father to decide that a baby should die if its existence is inconvenient have

no place in civilized society. She also wants to emphasize Planned Parenthood’s eugenicist

roots and point out that abortion clinics largely target minority women.

       15.     A student from Speech First’s case against Houston is a rising senior. As he

explained in that case, he believes that human beings are created either male or female, and

that someone cannot “transition” from one sex to the other based on whether he or she “feels”

like a man or a woman. He doesn’t want to be forced to call someone a “he” or a “she” (or to

use some other form of “preferred pronouns”) just because that person has decided that “their

truth” involves being transgender or non-binary. He firmly opposes legalized abortion because

he believes that life begins at conception. There are no circumstances that justify allowing

women to kill an innocent child. He believes that it is deeply unfair to allow biological males

who identify as females to compete in women’s sports. Those men are simply stealing athletic

opportunities away from actual women who have earned them. He believes that marriage is



                                                7
        Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 8 of 44




between a man and a woman, and that children are best served by being raised by a father and

a mother. He thinks that redefining marriage to include any arrangement between two people

is a slippery slope that will eventually lead to society being forced to accept marriages among

multiple people or something even worse. His beliefs about marriage also stem from his

Christian faith.

       16.     Another student from Speech First’s case against Houston is a rising senior (but

who plans to graduate in May 2026). As she explained in that case, she believes that allowing

biologically male athletes who identify as female to compete in women’s sports is unjust. Men

and women have innate physiological differences that cannot be erased simply because

someone chooses to “identify” as a member of the opposite sex. She believes that school

administrators who ignore those differences are prioritizing identity politics and political

correctness over the interests of women. As a woman, she does not want to be forced to

“affirm” that a man is really a “woman” just because he decides to identify as one. She believes

that abortion is morally wrong, and that people who choose to have abortions are not killing

a “fetus” or a “clump of cells”—they’re killing another human being. She believes that

abortion should be illegal, regardless of whether a pregnancy is “planned” or “wanted.”

       17.     A student from Speech First’s case against the University of Central Florida is

a rising senior. She believes that human beings are created either male or female, and that

someone cannot “transition” from one sex to the other based on whether they “feel” that they

are a man or a woman. She doesn’t want to be forced to call someone a “he” or a “she” (or to

use some other form of “preferred pronouns”) just because that person has decided that “their

truth” is that their “real gender” is male or female or “non-binary.” As a woman, she believes



                                               8
        Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 9 of 44




that it is deeply unfair to allow biological males who identify as females to compete in women’s

sports. These men are taking athletic opportunities away from actual female athletes who

deserve them. She is strongly pro-life and believes that there are no circumstances that justify

allowing women to kill an innocent child. Women who choose to have abortions aren’t simply

“terminating” a “fetus” or a “clump of cells,” they’re killing a defenseless baby.

        18.   Speech First’s members, including the students above, want to be able to have

open and robust intellectual debates and discussions about these issues on campus, in their

community, and online. When a classmate or another member of the university community

voices contrary views about these and other controversial topics, Speech First’s members want

to point out the flaws in their arguments and convince them to change their minds. Speech

First’s members want to speak directly to their classmates about these topics, and they want

to talk frequently and repeatedly on these issues. Given their views, Speech First’s members

know that many of these conversations will be heated, passionate, and targeted. But they want

to have these conversations because they feel strongly about these issues.

        19.   The rule challenged in this case will subject Speech First’s members to speech

codes and the risk of discipline on their campuses. Speech First’s members will limit their

speech if the rule becomes effective because they reasonably fear that their speech will be

considered “harassment” under the policies and practices that the rule requires their

universities to adopt. They will be especially reluctant to openly express their opinions or have

conversations about controversial topics involving sex, gender identity, sexual orientation, and

abortion. Hence why they helped Speech First challenge virtually identical policies in prior

litigation.



                                               9
       Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 10 of 44




       20.     The challenged rule also eliminates an accused’s right to a live hearing, his right

to cross-examination of the accuser or other witnesses, his right to fairly access all evidence,

his protection against a recipient’s use of a single-investigator model, and the requirement that

a written complaint starts an investigation. The challenged rule empowers recipients to

question the witnesses outside of a hearing; provide only a description of the relevant and not

otherwise impermissible evidence; have one person serve as the investigator, factfinder, and

discipliner; and start an investigation with an oral statement.

       21.     Even if some of these procedures are technically optional, universities will adopt

them once the 2020 rule is repealed and replaced. Most agree with them as a matter of policy.

See Comment on Docket No. ED-2021-OCR-0166, at 61, FIRE (Sept. 12, 2022), perma.cc/PJX5-

RZ3G (“FIRE’s research shows that when not required to provide a live hearing, the majority

of institutions, regardless of their size, do not. Of the 50 surveyed institutions in FIRE’s 2021

Spotlight on Due Process report with non-Title IX sexual misconduct policies, 33 (66%) did

not guarantee a meaningful hearing.” (citing 2021-22 Spotlight on Campus Due Process, FIRE

(2022), perma.cc/N7SF-8TH7)). And they will reasonably fear enforcement actions or

investigations from the Department for having inadequate procedures. See 89 Fed. Reg. at

33,636-37; Doe v. Univ. of Scis., 961 F.3d 203, 213 & n.6 (3d Cir. 2020) (describing how through

enforcement actions the Department has coerced schools into adopting the single-investigator

model).

       22.     The challenged rule thus deprives Speech First’s members of their due-process

rights. These members are current college students on campus now. Especially because the

rule’s definitions are so broad and vague, Speech First’s members could easily cross the line



                                               10
          Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 11 of 44




and be reported and investigated for violations of their university’s Title IX policy. Disciplinary

proceedings without notice of the charges, adjudication by a neutral decision maker, cross-

examination, and other basic protections are fundamentally unfair and risk erroneous decisions

with life-altering consequences for these students. A finding of guilt, or even the opening of

an investigation, can create a permanent and life-altering stigma that irreparably harms a

student’s educational, professional, and social prospects, even if the finding is later reversed

or the investigation is dropped. And it severely distracts them from their studies.

          23.   Speech First is also harmed by the provision of the rule that changes the

definition of “sex” to include gender identity and sexual orientation. Absent that change,

harassment policies under Title IX could not chill its members’ speech on those topics, and

universities could not abrogate Speech First’s settlement agreement with respect to those

topics.




                                                11
      Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 12 of 44




       Per 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.



       Executed on May 8, 2024




                                             12
Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 13 of 44




                Exhibit A
Case 6:21-cv-00313-GAP-DAB
       Case 7:24-cv-00533-ACADocument
                               Document
                                      647-13
                                          FiledFiled
                                                09/23/22
                                                     05/08/24
                                                           PagePage
                                                                3 of 26
                                                                     14 PageID
                                                                        of 44 1644




                                 AGREEMENT AND RELEASE

         This Agreement and Release (“Agreement”) is entered into on the date of signature of the
 last signatory to this Agreement (“Effective Date”) by and between Speech First, Inc. on the one
 hand and the University of Central Florida Board of Trustees (“University”) on the other (together,
 the “Parties”), as follows:

          A.       WHEREAS, by complaint filed on February 16, 2021, Speech First brought the
 matter styled Speech First, Inc. v. Cartwright, No. 6:21-cv-00313 (M.D. Fla.) (“Action”) asserting
 claims against Alexander Cartwright, in his official capacity as President of the University of
 Central Florida; Dana Juntenen, in her official capacity as Director of the University of Central
 Florida Office of Student Rights and Responsibilities; Matthew Hall, in his official capacity as
 Vice President for Information Technology and Chief Information Officer; Christina Khan, James
 Mangan, Reshawna Chapple, Jillian Sturdivant, Michelle Fitzgerald, Andrea L. Snead, Kerry
 Welch, Edwanna Andrews, Michael Preston, Shane Land, Angela Williams, and Ronnie Korosec,
 all in their official capacities as members of the Just Knights Response Team; and Beverly J. Seay,
 Tiffany Altizer, Ken Bradley, Bill Christy, Jeff Condello, Joseph Conte, Danny Gaekwad, Joseph
 Harrington, Sabrina La Rosa, Caryl McAlpin, Harold Mills, Michael Okaty, and John Sprouls, all
 in their official capacities as members of the University of Central Florida Board of Trustees
 (“Defendants”);

         B.      WHEREAS, on February 22, 2021, Speech First moved for a preliminary
 injunction against four University policies and/or practices: the provision in the Prohibition of
 Discrimination, Harassment, and Related Interpersonal Violence Policy concerning
 “discriminatory harassment” (UCF Policy 2-004.2(IV)(B)); the provision in the University’s Use
 of Information Technologies and Resources Policy concerning “harassing or hate messages” (UCF
 Policy 4-002.2(B)(7)(b)); the provision in the ResNet User Agreement concerning “harassing,
 invasive, or otherwise unwanted” messages; and the practice relating to bias-related incidents, as
 administered by the Just Knights Response Team (JKRT), see Dkt. 3;

        C.      WHEREAS, on February 26, 2021, Speech First and Defendants filed a stipulated
 dismissal of Speech First’s claims against all Defendants other than Cartwright, see Dkt. 23;

        D.      WHEREAS, on February 26, 2021, Speech First and Defendants further stipulated
 that any injunctive or declaratory relief or attorney’s fees awarded in this action to Speech First
 against Cartwright in his official capacity would apply to and be binding on the University of
 Central Florida, see Dkt. 23;

        E.      WHEREAS, on March 27, 2021, Speech First filed an amended complaint against
 Cartwright, in his individual and official capacities, see Dkt. 30;

         F.      WHEREAS, on July 29, 2021, the United States District Court for the Middle
 District of Florida partially granted Speech First’s motion for preliminary injunction, enjoining the
 University from enforcing the challenged provision of the University’s Use of Information
 Technologies and Resources Policy and denying Speech First’s remaining requests, see Dkt. 46;




                                                1 of 4
Case 6:21-cv-00313-GAP-DAB
       Case 7:24-cv-00533-ACADocument
                               Document
                                      647-13
                                          FiledFiled
                                                09/23/22
                                                     05/08/24
                                                           PagePage
                                                                4 of 26
                                                                     15 PageID
                                                                        of 44 1645




         G.      WHEREAS, on July 29, 2021, Speech First timely appealed the District Court’s
 partial denial of its motion for preliminary injunction with respect to the provision concerning
 “discriminatory harassment” in UCF Policy 2-004.2(IV)(B) and the practice relating to bias-
 related incidents administered by the JKRT, see Dkt. 49;

         H.     WHEREAS, on November 29, 2021, the Parties agreed to a settlement on Speech
 First’s claims related to the challenged provisions of the Use of Information Technologies and
 Resources Policy and ResNet User Agreement (attached as Exhibit A);

         I.      WHEREAS, on May 2, 2022, the United States Court of Appeals for the Eleventh
 Circuit reversed in part and vacated in part the district court’s judgment partially denying a
 preliminary injunction and remanded to the district court for further proceedings consistent with
 its opinion, see Judgment, No. 21-12583 (11th Cir. May 2, 2022);

        J.      WHEREAS, on July 12, 2022, the District Court enjoined the University from
 enforcing the provision on “discriminatory harassment” in UCF Policy 2-004.2(IV)(B), see Dkt.
 59;

        K.      WHEREAS, on July 14, 2022, the District Court granted the Parties’ consent
 motion to stay all pending deadlines until further order of the court, see Dkt. 61;

       L.      WHEREAS, the Parties have determined that it is in their mutual interests to
 amicably resolve all issues between them;

         NOW, THEREFORE, in consideration of the foregoing and of the mutual undertakings of
 the Parties set out herein, the Parties agree as follows:

         1.      Speech First represents that it brought its claims on behalf of its members, including
 Students A, B, and C; and that Students A, B, and C actively participated in and supported the
 action and authorized Speech First to represent them in the action. Speech First intends the
 Agreement to resolve its claims against the University in the Action, including those arising from
 the facts articulated by Students A, B, and C.

        2.      With respect to UCF Policy 2-004.2, the University will promptly amend that
 policy per the attached Exhibit B. The University will not reinstate the version of the policy that
 Speech First challenged in this Action.

        3.    With respect to bias-related incidents, the University has discontinued the Just
 Knights Response Team and associated practices. The University will not reinstate the Just
 Knights Response Team.

         4.     The University will promptly pay Speech First thirty-five thousand dollars
 ($35,000). The parties shall otherwise bear their respective costs and expenses relating to the
 Action and this Agreement. Payment will be made by an electronic transfer of funds to a bank
 account specified by Speech First. Upon the filing of the Joint Stipulation of Dismissal, the Parties
 will exchange the documentation necessary to complete this payment in an expeditious manner.




                                                2 of 4
Case 6:21-cv-00313-GAP-DAB
       Case 7:24-cv-00533-ACADocument
                               Document
                                      647-13
                                          FiledFiled
                                                09/23/22
                                                     05/08/24
                                                           PagePage
                                                                5 of 26
                                                                     16 PageID
                                                                        of 44 1646




         5.      For and in consideration of the University’s undertakings set forth in numbered
 paragraphs 2, 3, and 4 above, the sufficiency of which is hereby acknowledged, and intending to
 be legally bound, Speech First does hereby remise, release, and forever discharge and completely
 and absolutely release the University and the Defendants (collectively, the “Released Parties”)
 from the claims, causes of action, and requests for relief that were brought or could have been
 brought to challenge the policies and/or practices in the Action. The Released Parties are each
 entitled to enforce this Agreement against Speech First without regard for whether the Released
 Party is a party to this Agreement. In the event that the University revises the policies or practices
 challenged in the Action in the future, Speech First and its members do not release any right to
 challenge the revised policies or practices.

         6.      Within two (2) business days of the Effective Date, Speech First will file a joint
 stipulation of dismissal in the form attached as Exhibit C to this Agreement, dismissing the Action
 pending against Defendants with prejudice.

          7.      Nothing contained in this Agreement shall be deemed as an admission of any
 liability or lack of merit in any claim or defense by any Party.

         8.      Speech First reserves the right to challenge any University policy other than the
 policies challenged in its Complaint or Amended Complaint.

         9.      This Agreement represents the full and complete agreement between the Parties to
 resolve their dispute. Any representations, warranties, promises, or conditions, whether written or
 oral, not specifically incorporated into this Agreement shall not be binding on the Parties. All other
 discussions, negotiations, and writings have been and are merged into this Agreement.

        10.      Neither this Agreement nor any terms or provision hereof may be changed, waived,
 discharged, or terminated except by an instrument in writing duly signed by the Party against which
 enforcement of the change, waiver, discharge, or termination is sought.

        11.     This Agreement shall be governed and construed in accordance with the laws of the
 State of Florida applicable to contracts made and to be performed wholly within the State of
 Florida, without regard to its conflict-of-laws provisions. All Parties agree that this Agreement and
 any disputes arising therefrom arise out of the same transaction or occurrence that is the subject
 matter of the Action and further agree that any disputes with respect to this Agreement are properly
 heard by the district court in the Action.

         12.     The Parties agree that, in the event of any ambiguity or dispute regarding the
 interpretation of this Agreement, the Agreement will be interpreted as if each Party participated
 equally in its drafting.

          13.     The Parties represent, knowing that all other Parties will rely on such
 representation, that each signatory has the right, power, and authority to: (i) sign this Agreement
 and Release; (ii) bind itself to the terms of this Agreement and Release; (iii) with respect to Speech
 First, to so bind its members, successors, and assigns; and (iv) to receive the consideration set forth
 in this Agreement and Release.




                                                 3 of 4
Case 6:21-cv-00313-GAP-DAB
       Case 7:24-cv-00533-ACADocument
                               Document
                                      647-13
                                          FiledFiled
                                                09/23/22
                                                     05/08/24
                                                           PagePage
                                                                6 of 26
                                                                     17 PageID
                                                                        of 44 1647




         14.     This Agreement can be signed in two original counterparts, each of which shall for
 all purposes be considered an original of this Agreement. Execution and delivery of this Agreement
 by electronic means (including via e-mail or .pdf) shall be sufficient for all purposes and shall be
 binding on any person or Party who so executes.

         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective
 Date.


                9/22/22
         Date: _________                       SPEECH FIRST, INC.



                                               By: ___________________________________


         Date:_________                        THE UNIVERSITY OF CENTRAL FLORIDA
                                               BOARD OF TRUSTEES

                                                      Youndy C. Digitally    signed by
                                                                     Youndy C. Cook

                                                      Cook           Date: 2022.09.23 10:48:14
                                               By: ___________________________________
                                                                     -04'00'




                                                4 of 4
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               12 of 18
                                                                     26 of
                                                                        PageID
                                                                           44  1653




 Office of the President




  SUBJECT:                                                     Effective Date:       Policy Number
  Nondiscrimination Policy                                          9/16/2022               2-004.3


                                                               Supersedes:               Page     Of
                                                                      2-004.2               1     12
                                                               Responsible Authority:
                                                               Director, Institutional Equity

 APPLICABILITY/ACCOUNTABILITY

 This policy applies to the university community and acts committed by or against students,
 university and DSO employees and volunteers, registered student organizations, and third
 parties when:
     • the conduct occurs on campus or other property owned by, controlled by, or
         affiliated with the university;
     • the conduct occurs in the context of a university employment or education program
         or activity, including, but not limited to, university-sponsored study abroad,
         research, on-line, or internship programs; or
     • the conduct occurs outside the context of a university employment or education
         program or activity, but has continuing adverse effects on or creates a hostile
         environment for the university community while on campus or other property
         owned by, controlled by or affiliated with the university or in any university
         employment or education program or activity.


 POLICY STATEMENT

 The University of Central Florida is committed to maintaining a safe and non-
 discriminatory learning, living and working environment for all members of the university
 community. Academic and professional excellence can exist only when each member of our
 community is assured an atmosphere of safety and mutual respect. All members of the
 university community are responsible for the maintenance of an environment in which
 people are free to learn and work without fear of unlawful discrimination, harassment, or
 interpersonal violence. The University can take corrective action only when it becomes

 Phone: 407.823.1823 • Fax: 407.823.2264 • Web: president.ucf.edu
 An Equal Opportunity and Affirmative Action Institution
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               13 of 19
                                                                     26 of
                                                                        PageID
                                                                           44  1654




 aware of problems. Many university employees have the duty to report under the Reporting
 Requirements Related to Nondiscrimination Policy (No.2-015). Those who believe that they
 have experienced or witnessed Prohibited Conduct are encouraged to come forward
 promptly with their inquiries, reports, or complaints and to seek assistance within the
 University.

 The Office of Institutional Equity (www.oie.ucf.edu) is responsible for ensuring and
 monitoring the university’s compliance with federal and state nondiscrimination laws. The
 university adopts this policy with a commitment to: (1) eliminating, preventing, and
 addressing the effects of Prohibited Conduct; (2) fostering a safe and respectful university
 community; (3) cultivating a climate where all individuals are well-informed and
 supported in reporting Prohibited Conduct; (4) providing a fair and impartial process for
 all parties in the investigation and resolution of such reports; and (5) identifying the
 standards by which violations of this policy will be evaluated and disciplinary action may
 be imposed. In addition, the university conducts ongoing prevention, awareness, and
 training programs for employees and students to facilitate the goals of this policy. See the
 university’s Remedial Measures, Prevention, & Education Related to Nondiscrimination
 policy (No. 2-016).

 The university prohibits unlawful discrimination and harassment on the basis of an
 individual’s Protected Classes in any of its education or employment programs and
 activities, as well as retaliation against a person for reporting, in good faith, any of these
 forms of conduct or participating in or being a party to any investigation or proceeding
 under this policy (collectively, “Prohibited Conduct”). See also the university’s Reporting
 Misconduct and Protection from Retaliation Policy (No. 2-700). This includes the prohibition
 of sexual assault, sexual exploitation, relationship violence, stalking, sexual, gender-based,
 or Title IX sexual harassment, and aiding and abetting in the commission of any act
 prohibited by this policy, as well as failing to reasonably accommodate based on religion,
 disability, and/or pregnancy where the accommodation does not impose an undue
 hardship or fundamentally alter a course or academic program. These forms of Prohibited
 Conduct are unlawful and undermine the mission and values of our academic community.

 At the same time, the university is equally committed to protecting freedom of speech and
 academic freedom and in preserving the widest possible dialogue within its instructional
 and research settings. The principles of freedom of speech and freedom of expression in
 the United States and Florida Constitutions, in addition to being legal rights, are an integral
 part of our three-part university mission to deliver a high quality academic experience for
 our students, engage in meaningful and productive research, and provide valuable public
 service for the benefit of our local communities and the state. A fundamental purpose of an
 institution of higher education is to provide a learning environment where divergent ideas,
 opinions, and philosophies can be rigorously debated and critically evaluated. Accordingly,
 nothing in this policy shall abridge an individual’s rights to free speech and expression
 under the First Amendment of the U.S. Constitution.




                                                            2-004.3 Nondiscrimination Policy 2
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               14 of 20
                                                                     26 of
                                                                        PageID
                                                                           44  1655




 DEFINITIONS

 Coercion. An unreasonable pressure for sexual activity. Coercion is more than an effort to
 persuade, entice, or attract another person to have sex. Conduct does not constitute
 coercion unless it impairs an individual’s freedom of will to choose whether to participate
 in the sexual activity.

 Complainant. An individual who discloses having been subjected to any prohibited
 conduct under this policy or the Title IX Grievance Policy (No. 2-012), regardless of whether
 that person makes a report or seeks action under these policies. The university recognizes
 that an individual may choose to self-identify as a victim or a survivor. For consistency in
 these policies, the university uses the term complainant to maintain the neutrality of the
 policies and procedures.

 Consent. An understandable exchange of affirmative words or actions, which indicate a
 willingness to participate in mutually agreed upon sexual activity. Consent must be
 informed, freely and actively given. Consent cannot be obtained by force, threat, coercion,
 manipulation, reasonable fear of injury, intimidation, use of position of influence, or
 through one’s mental or physical helplessness or incapacity. Consent to one form of sexual
 activity does not imply consent to other forms of sexual activity. The lack of a negative
 response, lack of resistance or protest, and silence are not consent. An individual who is
 incapacitated (such as by alcohol and/or other drugs both voluntarily or involuntarily
 consumed) may not give consent. Consent to sexual activity on a prior occasion does not,
 by itself, constitute consent to future sexual activity. In cases of prior relationships, the
 manner and nature of prior communications between the parties and the context of the
 relationship may have a bearing on the presence of consent. Once consent has been given
 to a particular sexual activity, it may be withdrawn at any time. An individual who seeks to
 withdraw consent must communicate, through clear words or actions, a decision to cease
 the sexual activity. Once consent is withdrawn, the sexual activity must cease immediately.

        Responsibility: It is the responsibility of the initiator of the sexual activity to obtain
        clear and affirmative words or actions of a willingness to participate at each stage of
        sexual involvement.

        Incapacitation: A state where an individual cannot make rational, reasonable
        decisions because of age, mental or physical helplessness, sleep, unconsciousness, or
        lack of awareness that sexual activity is taking place. A person may be incapacitated
        due to the consumption of alcohol or other drugs, or due to a temporary or
        permanent physical or mental health condition. A person who is incapacitated lacks
        the capacity to give consent because they cannot understand the facts, nature, or
        extent of the sexual interaction. A person seeking to initiate sexual activity is not
        expected to be a medical expert in assessing incapacitation. The potential initiator
        must look for the common and obvious warning signs that show that a person may
        be incapacitated or approaching incapacitation.



                                                             2-004.3 Nondiscrimination Policy 3
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               15 of 21
                                                                     26 of
                                                                        PageID
                                                                           44  1656




        Being impaired by alcohol or other drugs is no defense to any violation of this
        policy.

        Standard: A determination of whether consent exists will be based on the
        information the initiator of the sexual act knew or should have known as a sober,
        reasonable person. Being impaired by alcohol or other drugs does not relieve an
        initiator of a sexual act from obtaining consent.

 Course of conduct. Two or more acts, including but not limited to acts in which a person
 directly, indirectly, or through third-parties, by any action, method, device, or means,
 follows, monitors, observes, surveils, threatens, or communicates to or about another
 person, or interferes with another person’s property.

 Direct Support Organization. An organization that is a subsidiary corporation of the
 university and is certified by the University of Central Florida Board of Trustees per Florida
 Statute §1004.28 to support the mission and goals of the university and the best interest of
 the state of Florida.

 Employee. Any individual employed by the University of Central Florida, including all full-
 time and part-time faculty, employees classified as Administrative and Professional (A&P),
 employees classified as University Support Personnel System (USPS), post-doctoral
 employees, professional research assistants, and OPS non-student employees.

 Force. The use of physical violence and/or imposing on someone physically to gain sexual
 access. Force also includes threats, intimidation (implied threats) and/or coercion that
 overcome resistance.

 Hostile Environment Harassment: Unwelcome behavior based on Protected Class(es)
 identified in this policy, where the frequency and severity of the alleged harassing conduct
 effectively denies the individual’s ability to participate in or benefit from the education,
 employment, or university program or activity, when viewed from both a subjective and an
 objective perspective. For a hostile environment harassment claim, the record must
 establish that the Complainant(s) subjectively perceived the environment to be hostile, and
 that the environment was one that a reasonable person would find objectively hostile.

 Prohibited Conduct. For purposes of this policy, Prohibited Conduct refers to unlawful
 discrimination, unlawful harassment, sexual assault, sexual exploitation, relationship
 violence, stalking, sexual, gender-based, or Title IX sexual harassment, aiding and abetting
 in the commission of any act prohibited by this policy, and retaliation against a person for
 reporting, in good faith, any of these forms of conduct or participating in or being a party to
 any investigation or proceeding under this policy.

 Protected Class(es): Race, color, ethnicity, national origin, religion, non-religion, age,
 genetic information, sex (including pregnancy, parental status, gender identity or
 expression, and sexual orientation), marital status, physical or mental disability (including
 learning disabilities, intellectual disabilities, and past or present history of mental illness),

                                                              2-004.3 Nondiscrimination Policy 4
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               16 of 22
                                                                     26 of
                                                                        PageID
                                                                           44  1657




 veteran’s status (as protected under the Vietnam Era Veterans’ Readjustment Assistant
 Act), or membership in any other protected classes as set forth in state or federal law.

 Quid Pro Quo Harassment: Unlawful harassment where submission to or rejection of
 unwelcome conduct is used, explicitly or implicitly, as the basis for decisions affecting an
 individual’s education (e.g., admission, academic standing, grades, assignment);
 employment (e.g., hiring, advancement, assignment); or participation in a university
 program or activity (e.g., campus housing).

 Respondent. Any individual or group who has been accused of violating this policy or the
 Title IX Grievance Policy (No. 2-012).

 Sexual Contact. Sexual contact includes but is not limited to the following behaviors: (1)
 touching, kissing, fondling (whether over or under clothing) of an individual for the
 purpose of sexual gratification; (2) contact, however slight, between the mouth, anus, or
 sex organ of one individual with either the anus or sex organ of another individual; and/or
 (3) contact, however slight, between the anus or sex organ of one individual and any other
 object.

 Student. Any individual defined as a student in the University of Central Florida’s
 Regulation UCF-5.006(3) and The Golden Rule Student Handbook.

 Substantial Emotional Distress. Significant mental suffering or anguish that may, but
 does not necessarily, require medical or other professional treatment or counseling.

 Third-Party. Any contractor, vendor, visitor, applicant or other non-student or non-
 employee/volunteer affiliated with the university.

 PROHIBITED CONDUCT UNDER THIS POLICY

 The requirements and protections of this policy apply equally regardless of an individual’s
 Protected Classes. Also, all requirements and protections are equitably provided to
 individuals regardless of their status as a Complainant, Respondent, or Witness. The
 following prohibited behaviors may overlap with Florida criminal statutes in some cases
 and provide greater protection in other instances.

        A. DISCRIMINATION

               Unlawful discrimination is any unlawful distinction, preference, or detriment
               to an individual that is based upon an individual’s Protected Class(es) and
               that: (1) excludes an individual from participation in; (2) denies the
               individual the benefits of; (3) treats the individual differently with regard to;
               or (4) otherwise adversely affects a term or condition of an individual’s
               employment, education, living environment or participation in a university
               program or activity.


                                                            2-004.3 Nondiscrimination Policy 5
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               17 of 23
                                                                     26 of
                                                                        PageID
                                                                           44  1658




              Religious discrimination includes failing to reasonably accommodate an
              employee’s or student’s religious practices where the accommodation does
              not impose an undue hardship nor fundamentally alter a course or academic
              program. Disability discrimination includes failing to reasonably
              accommodate the known physical or mental limitations of an otherwise
              qualified individual with a disability where the accommodation does not
              impose an undue hardship nor fundamentally alter a course or academic
              program. Pregnancy discrimination includes failing to reasonably
              accommodate an employee’s or student’s pregnancy or pregnancy-related
              condition where the accommodation does not impose an undue hardship and
              does not fundamentally alter a course or academic program. For more
              information regarding discrimination or to seek assistance in obtaining a
              reasonable accommodation, please visit www.oie.ucf.edu. For students with
              disabilities seeing an accommodation, please visit www.sas.ucf.edu.

        B. UNLAWFUL HARASSMENT

              Unlawful harassment consists of conduct based upon an individual’s
              Protected Class(es) meeting the description of either Hostile Environment
              Harassment or Quid Pro Quo Harassment, as defined above.

        C. SEXUAL, GENDER-BASED, OR TITLE IX SEXUAL HARASSMENT

              Sexual harassment is any unwelcome sexual advance, request for sexual
              favors, or other unwanted verbal, graphic or physical conduct of a sexual
              nature when the conditions for Hostile Environment Harassment or Quid Pro
              Quo Harassment are present.

              Gender-based harassment includes unlawful harassment based on gender,
              sexual orientation, gender identity, or gender expression, which may include
              acts of aggression, intimidation, or hostility, whether verbal, graphic, or
              physical, even if the acts do not involve conduct of a sexual nature, when the
              conditions for Hostile Environment Harassment or Quid Pro Quo Harassment
              are present.

              Title IX Sexual Harassment is any conduct which occurs within the
              university’s education program or activity against a person located in the
              United States on or after August 14, 2020, that satisfies one or more of the
              following: (1) An employee conditioning the provision of an aid, benefit, or
              service on an individual’s participation in unwelcome sexual conduct (i.e.,
              Quid Pro Quo); (2) Unwelcome conduct of a sexual nature determined by a
              reasonable person to be so severe, pervasive, and objectively offensive that it
              effectively denies a person equal access to an education program or activity
              (i.e., hostile environment); or (3) Sexual assault, dating violence, domestic
              violence, or stalking (as defined by the Jeanne Clery Act). University
              investigations of incidents that meet the Title IX Sexual Harassment
                                                         2-004.3 Nondiscrimination Policy 6
Case 6:21-cv-00313-GAP-DAB
        Case 7:24-cv-00533-ACA
                             Document
                               Document
                                      64 7-13
                                          Filed Filed
                                                09/23/22
                                                      05/08/24
                                                           PagePage
                                                               18 of 24
                                                                     26 of
                                                                        PageID
                                                                           44  1659




              definition will be investigated pursuant to the Title IX Grievance Policy (No. 2-
              012).

        D. SEXUAL ASSAULT

              Sexual assault consists of sexual contact that occurs without consent.
              Consent is an understandable exchange of affirmative words or actions,
              which indicate a willingness to participate in mutually agreed upon sexual
              activity. Consent must be informed, freely and actively given. Consent cannot
              be obtained by force, threat, coercion, reasonable fear of injury, intimidation,
              use of position of influence, or through one’s mental or physical helplessness
              or incapacity. See Definitions section above for more information regarding
              consent.

        E. SEXUAL EXPLOITATION

              Sexual exploitation is purposely or knowingly doing or attempting to do any
              of the following:
              •       Exposing of one’s body in such a manner that another party
              reasonably could be offended or to display sexual behavior which another
              person reasonably finds offensive;
              •       Voyeurism, including trespassing, spying, or eavesdropping for the
              purpose of sexual gratification;
              •       Soliciting sex acts from a minor by oral, written, or electronic means;
              •       Possessing, producing, or disseminating child pornography;
              •       Recording or photographing private sexual activity and/or a person’s
              intimate parts (including genitalia, groin, breasts or buttocks) without
              consent;
              •       Disseminating or posting images of private sexual activity and/or a
              person’s intimate parts (including genitalia, groin, breasts, or buttocks)
              without consent;
              •       Allowing third parties to observe private sexual activity from a hidden
              location (e.g., closet) or through electronic means (e.g., Skype or
              livestreaming of images);
              •       Subjecting another person to human trafficking; or
              •       Exposing another person to a sexually transmitted infection or virus
              without the other’s knowledge.

        F. RELATIONSHIP VIOLENCE

              Relationship violence includes any act of violence or threatened act of
              violence that occurs between individuals who are involved or have been
              involved in a sexual, dating, spousal, domestic, or other intimate relationship.
              Relationship violence includes “dating violence” and “domestic violence,” as
              defined by the Violence Against Women Reauthorization Act of 2013.


                                                          2-004.3 Nondiscrimination Policy 7
Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 25 of 44




                Exhibit B
     Case
      Case4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                        7-13
                                           on 06/10/22
                                              Filed 05/08/24
                                                       in TXSD
                                                             Page
                                                               Page
                                                                  26 4
                                                                     ofof
                                                                        4435




                                         AGREEMENT

        This Agreement (the “Agreement”) is entered into on the date of signature of the last
signatory to this Agreement (“Effective Date”) by and between Speech First, Inc. (“Speech First”)
on the one hand and the University of Houston System (the “University”) on the other (collectively,
the “Parties”), as follows:

        A.      WHEREAS, by complaint filed on February 23, 2022, Speech First brought the
matter styled Speech First, Inc. v. Khator, No. 4:22-cv-582 (S.D. Tex.) (“Action”) asserting claims
against Renu Khator, in her individual capacity and official capacity as Chancellor of the
University of Houston System and President of the University of Houston; Paula Myrick Short, in
her individual capacity and official capacity as Senior Vice President for Academic Affairs and
Provost; Daniel M. Maxwell, in his individual capacity and official capacity as Vice President of
Student Affairs and Enrollment; Donell Young, in his individual capacity and official capacity as
Associate Vice President of Student Affairs and Dean of Students; Kamran Riaz, in his individual
capacity and official capacity as Associate Dean of Students; Devon Fan, in his individual capacity
and official capacity as Equal Opportunity Coordinator and Trainer; and Tilman J. Fertitta, Ricky
Raven, Beth Madison, Durga D. Agrawal, Doug H. Brooks, Alonzo Cantu, Steve I. Chazen, John
A. McCall Jr., and Jack B. Moore, all in their individual capacities and official capacities as
members of the University of Houston System Board of Regents (“Defendants”);

       B.      WHEREAS, Speech First brought its claims on behalf of its members, including
Students A, B, and C;

       C.      WHEREAS, Students A, B, and C actively participated in and support the Action;

        D.     WHEREAS, Speech First was authorized by Students A, B, and C to represent them
in the Action;

        E.      WHEREAS, on February 28, 2022, Speech First moved for a preliminary
injunction relating to its claim concerning the University’s harassment policy (“Policy”);

       F.      WHEREAS, on May 13, 2022, the University amended the Policy, see Dkt. 25;

       G.      WHEREAS, on May 19, 2022, the U.S. District Court for the Southern District of
Texas issued a preliminary injunction enjoining the University from enforcing the unamended
Policy during the pendency of the litigation;

      H.      WHEREAS, the Parties have determined that it is in their mutual interests to
amicably resolve all issues between them;

        NOW, THEREFORE, in consideration of the foregoing and of the mutual undertakings of
the Parties set out herein, the Parties agree as follows:

         1.     The University will not reinstate the version of the Policy challenged by Speech
First in this Action. See Dkt. 3-2.
     Case
      Case4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                        7-13
                                           on 06/10/22
                                              Filed 05/08/24
                                                       in TXSD
                                                             Page
                                                               Page
                                                                  27 5
                                                                     ofof
                                                                        4435




       2.     On June 9, 2022, the University will adopt the amendments to the Policy that are
attached as Exhibit A to this Agreement.

        3.      Within five business days of the Effective Date, the University will pay Speech
First thirty thousand dollars ($30,000). The Parties shall otherwise bear their costs, expenses, and
remaining attorney’s fees relating to the Action and this Agreement. Payment will be made by an
electronic transfer of funds to a bank account specified by Speech First. Upon the filing of the
Joint Stipulation of Dismissal, the Parties will promptly exchange the documentation necessary to
effectuate and complete this payment in an expeditious manner.

       4.     On June 10, 2022, Speech First shall file a joint stipulation of dismissal in the form
attached as Exhibit B to this Agreement, dismissing the Action pending against Defendants.

        5.      Speech First hereby releases and discharges the University and Defendants and
their attorneys, agents, employees, officers, directors, regents, shareholders, partners, affiliates,
successors, and assigns from the claims, causes of action, and requests for relief that were sought
or could have been brought to challenge the Policy in effect as of February 28, 2022.
         6.      Nothing contained in this Agreement shall be deemed as an admission of any
liability or lack of merit in any claim or defense, by any Party or by Defendants.

       7.      All Parties to this Agreement represent that they have been fully advised by counsel
with respect to the terms of this Agreement and execute it with full knowledge of the terms and
conditions hereof.

        8.      This Agreement represents the full and complete agreement between the Parties to
resolve their dispute. Any representations, warranties, promises, or conditions, whether written or
oral, not specifically incorporated into this Agreement shall not be binding on the Parties. All other
discussions, negotiations, and writings have been and are merged into this Agreement.

       9.       Neither this Agreement nor any terms or provision hereof may be changed, waived,
discharged, or terminated except by an instrument in writing duly signed by the Party against which
enforcement of the change, waiver, discharge, or termination is sought.

        10.    This Agreement shall be governed and construed in accordance with the laws of the
State of Texas applicable to contracts made and to be performed wholly within the State of Texas,
without regard to its conflict of laws provisions.

        11.     All Parties hereto agree that in the event of any ambiguity or dispute regarding the
interpretation of this Agreement, the Agreement will be interpreted as if each Party hereto
participated equally in the drafting hereof. In the event of a dispute arising from this Agreement,
the Parties agree to litigate such disputes in the state or federal courts presiding in Harris County,
Texas.

        12.    The unenforceability or invalidity of any provision or provisions of this Agreement
shall not render unenforceable or invalid any other provision or provisions hereof.
  Case
   Case4:22-cv-00582
         7:24-cv-00533-ACA
                      Document
                           Document
                               31 Filed
                                     7-13
                                        on 06/10/22
                                           Filed 05/08/24
                                                    in TXSD
                                                          Page
                                                            Page
                                                               28 6ofof4435




        13.     This Agreement may be signed in two original counterparts, each of which shall for
all purposes be considered an original of this Agreement. Execution and delivery of this Agreement
by electronic means (including via e-mail or .pdf) shall be sufficient for all purposes and shall be
binding on any person or Party who so executes.

         14.    The Vice Chancellor for Legal Affairs acknowledges that she has actual authority
to enter into this Agreement on behalf of the University Defendants and that any approvals and
formalities required to authorize this Agreement have been completed prior to signature. By her
signature, the Vice Chancellor for Legal Affairs binds the University Defendants and all
employees, officers, agents, attorneys, affiliates, successors, assigns and all other representatives
thereof.

        IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the
Effective Date set forth above.




       Date: ----
                                              The University of Houston System

                                              By: _ __       ______                _ _ _
  Case
   Case4:22-cv-00582
         7:24-cv-00533-ACA
                      Document
                           Document
                               31 Filed
                                     7-13
                                        on 06/10/22
                                           Filed 05/08/24
                                                    in TXSD
                                                          Page
                                                            Page
                                                               29 7
                                                                  ofof
                                                                     4435




        13.     This Agreement may be signed in two original counterpat1s, each of which shall for
all purposes be considered an original of this Agreement. Execution and delivery of this Agreement
by electronic means (including via e-mail or .pdf) shall be sufficient for all purposes and shall be
binding on any person or Party who so executes .

         14.    The Vice Chancellor for Legal Affairs acknowledges that she has actual authority
to enter into this Agreement on behalf of the University Defendants and that any approvals and
fo1malities required to authorize this Agreement have been completed prior to signature. By her
signature , the Vice Chancellor for Legal Affairs binds the University Defendants and all
employees , officers , agents , attorneys , affiliates , successors , assigns and all other representatives
thereof.

        IN WITNESS WHEREOF, the Patties hereto have executed this Agreement as of the
Effective Date set forth above.



        Date: ----
                                                 Speech First, Inc.

                                                 By:-------               - ---       ---      -


                  lit JBDol~
        Date : Oto\
                                                 The University of Houston System

                                                 By:               o~\\J \Jc_ Le~\ f:i.~i rs
                                                       Duna\-\. C.or
     Case
      Case4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                        7-13
                                           on 06/10/22
                                              Filed 05/08/24
                                                       in TXSD
                                                             Page
                                                               Page
                                                                  30 9
                                                                     ofof
                                                                        4435


                            UNIVERSITY OF HOUSTON SYSTEM
                          ADMINISTRATIVE MEMORANDUM


SECTION:     General Administration                                    NUMBER: 01.D.07

AREA:        Legal Affairs

SUBJECT: Anti-Discrimination


1.    PURPOSE

      1.1.   This Policy provides the exclusive mechanism for the University of Houston
             System and its universities (“University”) to manage the reporting of unlawful
             Discrimination and Harassment, as defined in this Policy, by providing a prompt,
             fair, and impartial investigation and resolution process. This Policy does not
             address allegations of sexual misconduct, which includes sexual harassment.
             (Please see SAM 01.D.08 (Sexual Misconduct), the applicable policy that addresses
             prohibited sexual misconduct and establishes a mechanism for processing
             complaints of sexual misconduct.)
      1.2.   Consistent with its commitment to addressing unlawful Discrimination and
             Harassment, the University complies with multiple laws that prohibit
             Discrimination and Harassment including, but not limited to, Title VII of the Civil
             Rights Act of 1964 (“Title VII”), Title IX of the Education Amendments of 1972
             (“Title IX”), The Rehabilitation Act of 1973, The Americans with Disabilities Act
             of 1990, as amended, The Age Discrimination Act of 1975, and relevant state and
             local laws.
2.    POLICY

      2.1.   The University is committed to maintaining and strengthening an educational,
             working and living environment where students, faculty, staff, visitors, and
             applicants for admission or employment are free from Discrimination and
             Harassment of any kind. Discrimination and Harassment are antithetical to the
             standards and ideals of the University. The University will take appropriate action
             in an effort to eliminate Discrimination and Harassment from occurring, prevent
             their recurrence and address their effects.

      2.2.   The University is also committed to protecting, maintaining and encouraging both
             freedom of expression and full academic freedom of inquiry, teaching, service, and
             research (see SAM 01.D.15 (Freedom of Expression)).



3.    GENERAL DEFINITIONS

      3.1.   Complainant – An individual who may have experienced Discrimination,
             Harassment, or Retaliation by a Member of the University Community based on


  November 29, 2012; Last Revised December 17, 2021June 9, 2022 Page 1 of 24
  Case
    Case
       4:22-cv-00582
         7:24-cv-00533-ACA
                      Document
                           Document
                               31 Filed
                                      7-13
                                        on 06/10/22
                                            Filed 05/08/24
                                                    in TXSDPage
                                                             Page
                                                                3110
                                                                   of of
                                                                      4435

                                                                            SAM No. 01.D.07

           their Protected Class. Bystanders who are not a member of the Protected Class may
           make reports of alleged Discrimination or Harassment per Section 6 of this Policy
           but are not considered Complainants under this Policy.

    3.2.   Discrimination – Treating an individual or members of a Protected Class less
           favorably because of their membership in that class or having a policy or practice
           that has a disproportionately adverse impact on Protected Class members.

           For examples of Discrimination, see Section 5.
    3.3.   Equal Opportunity Coordinator – The person who is designated to coordinate
           efforts to comply with and implement this Policy. The Equal Opportunity
           Coordinator (or their designee) is responsible for conducting the administrative
           investigation of reports of Discrimination or Harassment and is available to discuss
           options, provide support, explain University policies and procedures, and provide
           education on relevant issues.

           The Equal Opportunity Coordinators for each university are located at the following
           Equal Opportunity offices:
           •      University of Houston System/University of Houston
                  Office of Equal Opportunity Services
                  713-743-8835
           •      University of Houston – Downtown
                  Office of Title IX/Equity & Diversity
                  713-221-5771
           •      University of Houston – Clear Lake
                  Office of Equity, Diversity, Inclusion – Title IX
                  281-283-2305
           •      University of Houston – Victoria
                  Office of Title IX and Equal Opportunity
                  (361) 570-4835
           In the event that there is a conflict of interest for a University’s Equal Opportunity
           Coordinator, the UH System Equal Opportunity Coordinator will appoint another
           University’s Equal Opportunity Coordinator or designee to serve in their place. If
           the System Equal Opportunity Coordinator has a conflict of interest, the Vice
           Chancellor for Legal Affairs will appoint another University’s Equal Opportunity
           Coordinator to serve in their place.
    3.4.   Formal Complaint – A document filed by a Complainant and accepted by the Equal
           Opportunity Coordinator alleging Discrimination or Harassment against a
           Respondent and requesting that the University investigate the allegation(s).
    3.5.   Harassment – is either:




November 29, 2012; Last Revised December 17, 2021 June 9, 2022 Page 2 of 24
  Case
    Case
       4:22-cv-00582
         7:24-cv-00533-ACA
                      Document
                           Document
                               31 Filed
                                      7-13
                                        on 06/10/22
                                            Filed 05/08/24
                                                    in TXSDPage
                                                             Page
                                                                3211
                                                                   of of
                                                                      4435

                                                                            SAM No. 01.D.07


        •          Subjecting an employee on the basis of their membership in a Protected
                   Class to unwelcome conduct that is severe or pervasive enough to alter the
                   conditions of the employee’s employment and create a hostile or abusive
                   working environment; or
        •          Subjecting a student on the basis of their membership in a Protected Class
                   to severe, pervasive, and objectively offensive treatment that denies the
                   student equal access to education or creates an intimidating, hostile, or
                   offensive educational environment..
            For examples of Harassment, see Section 5.
    3.6.    Member of the University Community – Members of the University Community
            include:
            •      University faculty, staff, administrators, employees, and contractors;
            •      University students;
            •      Volunteers and participants in any University program or activity;
            •      Applicants for admission and/or employment; and
            •      Guests and visitors to campus, to any property owned or leased by the
                   University, or to any property owned or leased by any University-Affiliated
                   organization or group.

    3.7.    Personal Advisor – An individual serving as a personal advisor or support person
            to a named party in a report of Discrimination, Harassment, or Retaliation. Any
            named party is entitled to have one (1) Personal Advisor of their choice present
            during any meeting or proceeding related to the investigation. This advisor may be
            an attorney, provided at their own expense, with no cost to the University. Personal
            Advisors may attend any meeting, proceeding or hearing related to the
            investigation, but may not speak on behalf of the individual they are advising or be
            a witness.

    3.8.    Protected Class – A class of persons who are protected under applicable federal or
            state laws against Discrimination and Harassment on the basis of race, color, sex
            (including pregnancy), genetic information, religion, age (over 40), national origin,
            disability, veteran status, sexual orientation, gender identity or status, gender
            expression, or any other legally protected status.

    3.9.    Resolution Agreement – As part of the informal resolution process, when a report
            alleges a non-violent violation of this Policy, the Complainant and Respondent may
            resolve the report by agreement. Under a Resolution Agreement, the Respondent
            will participate in training or other conditions as set forth in the Resolution
            Agreement. The Resolution Agreement is not an admission of guilt or
            responsibility by the Respondent, and neither party has the right to appeal. The
            Equal Opportunity office will document that the terms of the Agreement have been
            met and update the parties as appropriate.


November 29, 2012; Last Revised December 17, 2021 June 9, 2022 Page 3 of 24
     Case
       Case
          4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                         7-13
                                           on 06/10/22
                                               Filed 05/08/24
                                                       in TXSDPage
                                                                Page
                                                                   3312
                                                                      of of
                                                                         4435

                                                                               SAM No. 01.D.07

       3.10.   Respondent – A party or person who is designated to respond to a report or Formal
               Complaint. Generally, the Respondent is the person alleged to be responsible for
               the prohibited Discrimination, Harassment, or Retaliation alleged in the complaint.
               The term “Respondent” may also be used to designate persons with administrative
               responsibility for procedures and policies in those areas covered in a complaint.

       3.11.   Retaliation – Retaliation has the meaning set forth in Section 5.2.A of this Policy.

       3.12.   Student – A person who: (a) is currently enrolled at the University; (b) is accepted
               for admission or readmission to the University; (c) has been enrolled at the
               University in a prior semester or summer term and is eligible to continue enrollment
               in the semester or summer term that immediately follows; (d) is attending an
               educational program sponsored by the University while that person is on University
               Premises; or (e) has engaged in prohibited conduct at a time when he/she met the
               criteria of (a), (b), (c), or (d).

       3.13.   University-Affiliated Activity – Any activity that is initiated, aided, authorized or
               supervised by the University or by an officially-recognized organization of the
               University. This also includes activities performed within the scope of employment.

       3.14.   University Premises – Buildings or grounds owned, leased, operated, controlled or
               supervised by the University.

4.     JURISDICTION

       The University has jurisdiction over, and will respond to, allegations of Discrimination or
       Harassment occurring on the University’s Premises, at University-Affiliated Activities,
       and where either the Complainant or Respondent is a student, faculty member, or staff
       member. In addition, if conduct occurs off University Premises between two University-
       Affiliated individuals, the University has jurisdiction. Other than the University Police
       Department which may conduct a criminal investigation as appropriate, the University does
       not have jurisdiction over allegations between visitors or non-affiliated persons under this
       Policy.

       4.1.    Allegations Involving University-Affiliated Organizations

               A.     If a Formal Complaint is made alleging that a University-Affiliated
                      organization has violated this Policy, the Equal Opportunity office will
                      notify the appropriate administrative department and/or adjudicative body
                      over that organization to ensure a timely, equitable process to determine if
                      a University-Affiliated Organization violated relevant University policies.

               B.     The Equal Opportunity office will work in partnership with the appropriate
                      adjudicative body should there be concurrent investigations involving
                      individuals and organizations, including, but not limited to, sharing
                      information with appropriate University administrators who have a
                      legitimate need to know.



  November 29, 2012; Last Revised December 17, 2021 June 9, 2022 Page 4 of 24
     Case
       Case
          4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                         7-13
                                           on 06/10/22
                                               Filed 05/08/24
                                                       in TXSDPage
                                                                Page
                                                                   3413
                                                                      of of
                                                                         4435

                                                                               SAM No. 01.D.07

              C.     If a report is made involving a University-Affiliated Organization, the Equal
                     Opportunity office will seek to identify any individuals who may be
                     involved. The Equal Opportunity office will, in collaboration with the
                     alleged victim whenever possible, determine whether a Formal Complaint
                     will be filed against any identified individuals, as per this Policy.

       4.2.   The process outlined in this Policy is separate from any criminal proceeding related
              to the reported behavior and may occur while criminal proceedings are ongoing.

       4.3.   Proceedings under this Policy will not be dismissed or delayed because criminal
              prosecution is pending, criminal charges have been dismissed, or the criminal
              charges have been reduced.

       4.4.   Proceedings may also continue if a party is no longer employed with or a Student
              of the University.

       4.5.   To the extent that a concern is raised in an untimely manner (more than 180
              calendar days from the last incident of Discrimination or Harassment) it is within
              the Equal Opportunity office’s discretion not to pursue the matter.

       4.6.   Reports Outside of University Jurisdiction

              If the University is notified that a Member of the University Community has
              reported an incident of Discrimination or Harassment, but the action occurred
              outside of the University’s jurisdiction as described in this Section, the University
              will still take reasonable steps to ensure the individual’s safety while on University
              Premises and to offer the individual information about resources both on and off
              University Premises.

5.     PROHIBITED CONDUCT

       5.1.   Discrimination and Harassment

              Discrimination and Harassment are violations of this Policy and will not be
              tolerated. The University prohibits Discrimination and Harassment against any
              Member of the University Community based on their membership in a Protected
              Class.

              A.     Examples of Discrimination include, but are not limited to: denying an
                     applicant employment because of their membership in a Protected Class,
                     taking adverse employment or academic action against a person because of
                     their Protected Class; denying admission to a University activity based on a
                     person’s Protected Class; failing to provide reasonable accommodations to
                     a person with a documented disability, for pregnancy or related medical
                     conditions (See SAM 01.D.16), and for a sincerely held religious belief.

              B.     Examples of Harassment include, but are not limited to: epithets or slurs,
                     threatening, intimidating or hostile acts or statements, and display or


 November 29, 2012; Last Revised December 17, 2021 June 9, 2022 Page 5 of 24
     Case
       Case
          4:22-cv-00582
            7:24-cv-00533-ACA
                         Document
                              Document
                                  31 Filed
                                         7-13
                                           on 06/10/22
                                               Filed 05/08/24
                                                       in TXSDPage
                                                                Page
                                                                   3514
                                                                      of of
                                                                         4435

                                                                              SAM No. 01.D.07

                     circulation (including through e-mail or virtual platforms) of written or
                     graphic material in the learning, living, or working environment, as long as
                     the conduct rises to the level where it is actionable under Section 3.5.
              C.     An individual’s subjective belief that behavior is intimidating, hostile, or
                     offensive, in and of itself, is not sufficient to establish Discrimination or
                     Harassment. The behavior must satisfy the standard for Discrimination or
                     Harassmencreate a hostile environment from both a subjective and
                     objective perspective such that it unreasonably interferes with, limits, or
                     deprives a member of the university community of the ability to participate
                     in or to receive benefits, services, or opportunities from the university’s
                     education or employment programs and/or activities. In determining
                     whether a hostile environment existsDiscrimination or Harassment has
                     occurred, the university will examine the context, nature, scope, frequency,
                     duration, and location of incidents, as well as the relationships of the
                     individuals involved, and apply the appropriate standard according to the
                     applicable complaint resolution procedures.
              D.     A minor verbal and nonverbal slight, snub, annoyance, insult or isolated
                     incident including, but not limited to a microaggression, is not sufficient to
                     establish Discrimination or Harassment.             General concerns of
                     unprofessionalism should be addressed per normal departmental operating
                     procedures. The Equal Opportunity office may refer concerns of general
                     professionalism back to the supervisor(s) to review and address as
                     appropriate.
       5.2.   Retaliation

              A.     Retaliation under this Policy includes, but is not limited to, any adverse
                     employment or educational action taken for making a report of unlawful
                     Discrimination or Harassment, or for otherwise participating under this
                     Policy (“Retaliation”).

              B.     The University takes reports of Discrimination and Harassment very
                     seriously and will not tolerate Retaliation against those who make reports
                     of Discrimination or Harassment or who participate in the investigation or
                     adjudication process.

              C.     Any actual or threatened retaliation or any act of intimidation to prevent or
                     otherwise obstruct the reporting of Discrimination or Harassment or the
                     participation in proceedings relating to Discrimination or Harassment, may
                     be considered a separate violation of this Policy and may result in
                     disciplinary sanctions.

6.     REPORTING INCIDENTS

       6.1.   Any person, regardless of whether they are the person being subjected to
              Discrimination or Harassment, may report Discrimination, Harassment, or


 November 29, 2012; Last Revised December 17, 2021 June 9, 2022 Page 6 of 24
Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 36 of 44




                Exhibit C
        Case
          Case
             7:24-cv-00533-ACA
                1:18-cv-01078-LY Document
                                  Document7-13
                                           39 Filed
                                               Filed12/22/20
                                                     05/08/24 Page
                                                              Page237
                                                                    ofof
                                                                      5 44




                                           AGREEMENT
        This Agreement (the "Agreement") is entered into on the date of signature of the last
signatory to this Agreement ("Effective Date") by and between Speech First, Inc. ("Speech First")
on the one hand and the University of Texas at Austin (the "University") on the other (collectively,
the "Parties"), as follows:

        A. WHEREAS, by complaint filed on December 13, 2018, Speech First brought
claims against Gregory L. Fenves in his official capacity as President of the University of Texas
at Austin, and others ("Defendants"), in the matter styled Speech First, Inc. v. Fenves, 1 :18-cv-
1078-LY (W.D. Tex.) ("Action");

        B. WHEREAS, on December 21, 2018, Speech First moved for a preliminary
injunction relating to its claims concerning the University's verbal harassment policy, Acceptable
Use Policy, Residence Hall Manual, and Campus Climate Response Team;

        C. WHEREAS, Defendants opposed Speech First's motion;

        D. WHEREAS, on June 4, 2019, the U.S. District Court for the Western District of
Texas denied Speech First's motion and dismissed its case;

       E. WHEREAS, on October 28, 2020 (opinion revised November 9, 2020), the U.S.
Court of Appeals for the Fifth Circuit vacated the district court's opinion and remanded for further
proceedings.


        F. WHEREAS, the Parties have determined that it is in their mutual interests to
amicably resolve all issues between them;

       NOW, THEREFORE, in consideration of the foregoing and of the mutual undertakings of
the Parties set out herein, the Parties agree as follows:

        1. With respect to the University's Acceptable Use Policy, in August 2019, the
University removed the provision that stated, "Be civil. Do not send rude or harassing
correspondence." The University will not reinstate the removed provision.

        2. With respect to the University's Residence Hall Manual, in August 2019, the
University revised the provisions titled "Harassment" and "Incivility." The University will not
reinstate the former provisions.

        3. With respect to the University's verbal harassment policy, in August 2019, the
University amended its definition of verbal harassment. The University will not reinstate the
former definition, and it will remove all references to the former definition from its policies. The
University will delete Handbook of Operating Procedures 9-1810, Hate and Bias Incidents (Mar.
8, 2017), policies.utexas.edu/policies/hate-and-bias-incidents. The University will farther amend
the definition of verbal harassment by deleting §13-204(b)(l), deleting the second sentence of §13-
204(c), and deleting the second sentence of §13-204(d).




                                                1 of 3
          Case
            Case
               7:24-cv-00533-ACA
                  1:18-cv-01078-LY Document
                                    Document7-13
                                             39 Filed
                                                 Filed12/22/20
                                                       05/08/24 Page
                                                                Page338
                                                                      ofof
                                                                        5 44




          4. With respect to the University's Campus Climate Reporting Team ("CCRT"), the
University will discontinue the CCRT. The University is free to devise an alternative to the CCRT,
but Speech First is free to challenge that alternative.

          5. Within two (2) business days of the Effective Date, Speech First shall file a Notice
of Dismissal in the form attached hereto, dismissing all claims pending against Defendants in the
Action.


          6. The Parties shall bear their respective attorneys' fees, costs, and expenses relating
to the Action and this Agreement.

          7. Nothing contained in this Agreement shall be deemed as an admission of any
liability or lack of merit in any claim or defense, by any Party.

          8. This Agreement represents the full and complete agreement between the Parties to
resolve their dispute. Any representations, warranties, promises, or conditions, whether written or
oral, not specifically incorporated into this Agreement shall not be binding on the Parties. All other
discussions, negotiations, and writings have been and are merged into this Agreement.

          9. Neither this Agreement nor any terms or provision hereof may be changed, waived,
discharged, or terminated except by an instmment in writing duly signed by the Party against which
enforcement of the change, waiver, discharge, or termination is sought.


          10. This Agreement shall be governed and construed in accordance with the laws of the
State of Texas applicable to contracts made and to be performed wholly within the State of Texas,
without regard to its conflict-of-laws provisions.

          11. All Parties hereto agree that in the event of any ambiguity or dispute regarding the
interpretation of this Agreement, the Agreement will be interpreted as if each Party hereto
participated equally in the drafting hereof.

          12. This Agreement may be signed in two original counterparts, each of which shall for
all purposes be considered an original of this Agreement. Execution and delivery of this Agreement
by electronic means (including via e-mail or .pdf) shall be sufficient for all purposes and shall be
binding on any person or Party who so executes.




                                                2 of 3
Case
  Case
     7:24-cv-00533-ACA
        1:18-cv-01078-LY Document
                          Document7-13
                                   39 Filed
                                       Filed12/22/20
                                             05/08/24 Page
                                                      Page439
                                                            ofof
                                                              5 44
Case 7:24-cv-00533-ACA Document 7-13 Filed 05/08/24 Page 40 of 44




                Exhibit D
       Case
         Case
            7:24-cv-00533-ACA
               5:23-cv-00029-J Document 55
                                        7-13Filed
                                               Filed
                                                   04/15/24
                                                     05/08/24Page
                                                              Page1 of
                                                                    4112
                                                                       of 44




                                AGREEMENT AND RELEASE

        This Agreement and Release (“Agreement”) is entered into on the date of signature of the
last signatory to this Agreement (“Effective Date”) by and between Speech First, Inc. on the one
hand and Oklahoma State University (“University”) on the other (together, the “Parties”), as
follows:

       A.      WHEREAS, by complaint filed on January 10, 2023, Speech First brought the
matter styled Speech First, Inc. v. Shrum, No. 5:23-cv-00029 (W.D. Okla.) (“Action”) asserting
claims against Kayse Shrum, in her individual capacity and official capacity as President of
Oklahoma State University; Aleigha Mariott, in her individual capacity and official capacity as
Director of Student Support and Conduct for Oklahoma State University; Doug Hallenbeck, in his
individual capacity and official capacity as Vice President of Student Affairs for Oklahoma State
University; Raj Murthy, in his individual capacity and official capacity as Chief Information
Officer for Oklahoma State University; Jackson Landrum, in his individual capacity and official
capacity as Director of Equal Opportunity for Oklahoma State University; Billy G. Taylor, Rick
Davis, Jimmy Harrel, Joe Hall, Cary Baetz, Blayne Arthur, Rick Walker, Jason Ramsey, Jarold
Callahan, and Trudy Milner, all in their individual capacities and official capacities as members of
the OSU/A&M Board of Regents (“Defendants”);

        B.     WHEREAS, on January 10, 2023, Speech First moved for a preliminary injunction
against the University’s harassment policy in the Code of Conduct (hereinafter “harassment
policy”); the provision in the University’s “Appropriate Use Policy” concerning “transmitting
political campaigning” messages sent by students (OSU Policy 3-0601) (hereinafter “computer
policy”); and the University’s Bias Incident Response Team, see Doc. 3;

       C.      WHEREAS, on January 18, 2023, Speech First and Defendants filed a stipulated
dismissal of Speech First’s claims against all Defendants other than Shrum, see Doc. 5;

        D.     WHEREAS, on January 18, 2023, Speech First and Defendants further stipulated
that any injunctive or declaratory relief or attorney’s fees awarded in this action to Speech First
against Shrum would apply to and be binding on Oklahoma State University, see Doc. 5;

        E.     WHEREAS, on February 7, 2023, Defendants responded to Speech First’s
preliminary injunction motion and moved to dismiss Speech First’s complaint under Federal Rule
of Civil Procedure 12(b)(1), see Docs. 24-25;

        F.    WHEREAS, on February 17, 2023, Speech First filed an amended complaint
against Shrum, in her official capacity only, see Doc. 27;

      G.    WHEREAS, on March 3, 2023, Defendants moved to dismiss Speech First’s
amended complaint under Rule 12(b)(1), see Doc. 29;

        H.      WHEREAS, on April 10, 2023, the United States District Court for the Western
District of Oklahoma granted Defendants’ motion to dismiss and denied Speech First’s preliminary
injunction motion as “moot,” see Doc. 35;



                                              1 of 4
       Case
         Case
            7:24-cv-00533-ACA
               5:23-cv-00029-J Document 55
                                        7-13Filed
                                               Filed
                                                   04/15/24
                                                     05/08/24Page
                                                              Page2 of
                                                                    4212
                                                                       of 44




        I.    WHEREAS, on April 10, 2023, Speech First timely appealed the District Court’s
grant of Defendants’ motion to dismiss, see Doc. 37;

        J.     WHEREAS, on June 16, 2023, the University changed the computer policy
prohibition on “transmitting political campaigning” messages to apply to employees only and no
longer to nonemployee students, see perma.cc/6CY6-SZ4M;

       K.      WHEREAS, on February 9, 2024, the United States Court of Appeals for the Tenth
Circuit reversed the district court’s judgment and remanded to the district court for further
proceedings consistent with its opinion, see Judgment, No. 23-6054 (10th Cir. Feb. 9, 2024);

       L.      WHEREAS, on February 29, 2024, the parties settled the issues between them
regarding the computer policy, which settlement is attached as Exhibit B, and jointly stipulated to
the dismissal of Count III of the complaint with prejudice, see Doc.46;

      M.      WHEREAS, the Parties have determined that it is in their mutual interests to
amicably resolve the issues between them;

        NOW, THEREFORE, in consideration of the foregoing and of the mutual undertakings of
the Parties set out herein, the Parties agree as follows:

       1.       The University will revise the harassment policy. Under the revised policy,
“harassment” is defined as follows: “Harassment: Unwelcome conduct determined by a reasonable
person to be so severe, pervasive, and objectively offensive that it effectively denies a person equal
access to the University’s education program or activity.” The University will not revert to the
version of the harassment policy in place at the time this Action was filed. The University will take
reasonable steps to remove all references to that version of the harassment policy from its websites
and other publications.

        2.      The University will disband the Bias Incidents Response Team. The University will
not reinstate the Bias Incidents Response Team or create another similar entity with responsibility
for “bias incidents.” The University will take reasonable steps to remove all references to the Bias
Incidents Response Team from its websites and other publications.

        3.      For and in consideration of the University’s undertakings set forth in paragraphs 1
and 2, the sufficiency of which is hereby acknowledged, and intending to be legally bound, Speech
First does hereby remise, release, and forever discharge and completely and absolutely release the
University and Defendants (collectively, the “Released Parties”) from the claims, causes of action,
and requests for relief that were brought or could have been brought to challenge the harassment
policy and Bias Incidents Response Team in the Action. The Released Parties are each entitled to
enforce this Agreement against Speech First without regard for whether the Released Party is a
party to this Agreement. In the event that the University revises the policies or practices challenged
in the Action in the future, Speech First and its members do not release any right to challenge the
revised policies or practices.

        4.      Within three (3) business days of the Effective Date, Speech First will file a joint
stipulation of dismissal in the form attached as Exhibit A to this Agreement, dismissing the Action
with prejudice.


                                               2 of 4
       Case
         Case
            7:24-cv-00533-ACA
               5:23-cv-00029-J Document 55
                                        7-13Filed
                                               Filed
                                                   04/15/24
                                                     05/08/24Page
                                                              Page3 of
                                                                    4312
                                                                       of 44




       5.    The University shall pay Speech First’s costs, expenses, and attorneys’ fees in the
amount of $18,000 within thirty (30)days of Speech First’s filing of the joint stipulation of
dismissal.

        6.     Speech First did not challenge, in this Action, the definition of sexual harassment
in section 1.02(o) of the University’s Interim Title IX – Sexual Misconduct Policy (hereinafter
“Title IX sexual-harassment definition”). Should the University change that definition to mirror
the governing definition promulgated by the United States Department of Education via notice-
and-comment rulemaking under Title IX or the Violence Against Women Act, Speech First will
not challenge that revised definition in any claim or suit against the Released Parties.

         7.      Nothing contained in this Agreement shall be deemed as an admission of any
liability or lack of merit in any claim or defense by any Party.

        8.      This Agreement represents the full and complete agreement between the Parties to
resolve their dispute regarding the harassment policy, Bias Incidents Response Team, and Title IX
sexual-harassment definition. Any representations, warranties, promises, or conditions, whether
written or oral, not specifically incorporated into this Agreement shall not be binding on the
Parties. All other discussions, negotiations, and writings have been and are merged into this
Agreement.

       9.       Neither this Agreement nor any terms or provision hereof may be changed, waived,
discharged, or terminated except by an instrument in writing duly signed by the Party against which
enforcement of the change, waiver, discharge, or termination is sought.

        10.    This Agreement shall be governed and construed in accordance with the laws of the
State of Oklahoma applicable to contracts made and to be performed wholly within the State of
Oklahoma, without regard to its conflict-of-laws provisions. All Parties agree that this Agreement
and any disputes arising therefrom arise out of the same transaction or occurrence that is the subject
matter of the Action and further agree that any disputes with respect to this Agreement are properly
heard by the district court in the Action.

        11.     The Parties agree that, in the event of any ambiguity or dispute regarding the
interpretation of this Agreement, the Agreement will be interpreted as if each Party participated
equally in its drafting.

         12.     The Parties represent, knowing that all other Parties will rely on such
representation, that each signatory has the right, power, and authority to: (i) sign this Agreement
and Release; (ii) bind itself to the terms of this Agreement and Release; (iii) with respect to Speech
First, to so bind its members, successors, and assigns; and (iv) to receive the consideration set forth
in this Agreement and Release.

        13.     This Agreement can be signed in two original counterparts, each of which shall for
all purposes be considered an original of this Agreement. Execution and delivery of this Agreement
by electronic means (including via e-mail or .pdf) shall be sufficient for all purposes and shall be
binding on any person or Party who so executes.




                                                3 of 4
        Case
          Case
             7:24-cv-00533-ACA
                5:23-cv-00029-J Document 55
                                         7-13Filed
                                                Filed
                                                    04/15/24
                                                      05/08/24Page
                                                               Page4 of
                                                                     4412
                                                                        of 44




        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective
Date.

              4/15/24
        Date: _________                  SPEECH FIRST, INC.



                                         By: ___________________________________
                                             Cherise Trump, Executive Director
             04/03/24
        Date:_________                   OKLAHOMA STATE UNIVERSITY



                                         By: ___________________________________

                                             Kayse M. Shrum, D.O., President




                                          4 of 4
